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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION



UNITED STATES OF AMERICA,

        Plaintiff,
                                                        Case No. 14-2522
        v.
                                                        COMPLAINT FOR CIVIL
REGIONAL ADJUSTMENT BUREAU, INC.,                       PENALTIES,
a corporation,                                          INJUNCTIVE RELIEF, AND OTHER
                                                        RELIEF
        Defendant.




       Plaintiff, the United States of America, acting upon notification and authorization to the

Attorney General, by the Federal Trade Commission (“Commission”), by its undersigned

attorneys, for its Complaint alleges:

       1.       Plaintiff brings this action under Sections 5(a), 5(m)(1)(A), 13(b), and 16(a) of

the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), and

56(a), and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692-1692p, to obtain

monetary civil penalties, a permanent injunction, restitution, disgorgement of ill-gotten monies,

and other equitable relief for Defendant’s acts or practices in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a), and in violation of the FDCPA.

                                 JURISDICTION AND VENUE

       2.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

1345, and 1355, and under 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), 57b, and 1692l.



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       3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1), (c)(1), and (d), and 15

U.S.C. § 53(b).

                                           PLAINTIFF

       4.      This action is brought by the United States of America on behalf of the Federal

Trade Commission. The FTC is an independent agency of the United States government created

by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C.

§ 45(a), which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC

also enforces the FDCPA, 15 U.S.C. §§ 1692-1692p, which imposes duties upon debt collectors.

                                          DEFENDANT

       5.      Defendant Regional Adjustment Bureau, Inc. (“RAB”) is a Tennessee corporation

with its principal place of business located at 1900 Charles Bryan, Suite 110, Memphis, TN 38016.

At all times material to this Complaint, acting alone or in concert with others, RAB has transacted

business in this district and throughout the United States.

       6.      RAB is a “debt collector” as defined in Section 803(6) of the FDCPA, 15 U.S.C.

§ 1692a(6).

                                         DEFINITIONS

       7.      The term “consumer,” as used in this Complaint means any natural person

obligated or allegedly obligated to pay any debt, as “debt” is defined in Section 803(5) of the

FDCPA, 15 U.S.C. § 1692a(5).

       8.      The term “location information,” as used in this Complaint means a consumer’s

place of abode and the consumer’s telephone number at such place, or the consumer’s place of

employment, as defined in Section 803(7) of the FDCPA, 15 U.S.C. § 1692a(7).


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                                          COMMERCE

       9.      At all times material to this Complaint, Defendant has maintained a

substantial course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the

FTC Act, 15 U.S.C. § 44.

                           DEFENDANT’S BUSINESS ACTIVITIES

       10.     Defendant RAB engages in consumer debt collection activities throughout the

United States. Defendant RAB makes approximately 10,000 to 15,000 debt collection calls per

day. On a yearly basis, Defendant RAB collects or attempts to collect approximately 900,000 to 1

million consumer accounts.

       11.     Defendant RAB’s consumer accounts are assigned to RAB by the creditors of

consumers on a contingency-fee basis.

       12.     Defendant RAB regularly attempts to collect debts by contacting consumers by

telephone, U.S. mail, and other instrumentalities of interstate commerce.

       13.     In numerous instances, Defendant RAB uses false or deceptive means to

collect or attempt to collect debts, including but not limited to, falsely claiming that persons owe

debts that they do not owe. In numerous instances, when Defendant RAB calls a person to collect

a debt, the person tells Defendant that they are not the individual who owes the debt that Defendant

is attempting to collect. For example, persons inform Defendant that they do not have the same

name, social security number, or residential address as the consumer, and that they are therefore

not the consumer that RAB is trying to reach. In numerous instances, despite being so informed,

Defendant RAB continues to call these persons frequently in an attempt to collect the debts. In

numerous of these instances, Defendant RAB does so without obtaining new or additional


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information bearing on whether placing additional calls to that telephone number will result in

reaching the consumer Defendant is trying to reach.

       14.     In numerous instances, Defendant RAB’s collectors withdraw funds from

consumers’ bank accounts without obtaining consumers’ express informed consent for such

withdrawals. For example, in some instances, after consumers have provided RAB’s collectors

with authorization to withdraw a certain amount at a certain time, collectors later withdraw

additional amounts without authorization from the consumer.

       15.     In numerous instances, Defendant RAB telephones persons other than the

consumers more than once for the purpose of acquiring location information for consumers, even

though: (i) the persons have not requested additional calls; and (ii) it is not reasonable for

Defendant to believe that the person’s previous denial of knowledge of the consumer or the

consumer’s location was erroneous or incomplete or that the person subsequently obtained correct

or complete location information.

       16.     In numerous instances, Defendant RAB calls consumers at their place of

employment, even though Defendant knows or should know that it is either inconvenient for the

consumer to receive calls at work, or that the consumer’s employer prohibits the consumer from

receiving personal telephone calls at work.

       17.     In numerous instances, Defendant RAB discloses the existence of consumers’ debt

to third parties, including, but not limited to, consumers’ relatives, neighbors, employers, and

co-workers.

       18.     In numerous instances, Defendant RAB leaves messages on the voice mail,




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answering machine, or messaging service of persons, in which Defendant divulges that: (1) they

are a debt collector, are attempting to collect a debt, or that the consumer owes a debt; and (2) the

name of the consumer. For example, in numerous instances, Defendant RAB has left such

messages for consumers even though the voice mail, answering machine, or messaging service

greeting was for a general business line, including general phone lines belonging to hotels and

other businesses, or for shared residential lines that indicate that multiple persons may receive

messages at the number reached by the collector. In addition, in numerous instances, Defendant

RAB has left such messages for consumers even though the voicemail, answering machine, or

messaging service greeting either does not give the name of any person (e.g., “You have reached

867-5309. Please leave a message.”) or announces that the voicemail, answering machine, or

messaging service is for a person other than the consumer whom Defendant is trying to reach. In

many instances, persons other than the consumers hear the message, thereby disclosing

consumers’ alleged debts to persons other than the consumers without the prior consent of the

consumers.

       19.     In numerous instances, Defendant RAB communicates with third parties for

purposes other than to obtain location information, without consumers’ consent, express

permission from a court of competent jurisdiction, or as reasonably necessary to effectuate post

judgment judicial remedies. For example, in numerous of these instances, Defendant RAB asks

third parties to relay messages to consumers on behalf of the collector. These messages request

the third party to tell the consumer to call the collector. In numerous instances, the collectors

already have the consumer’s location information and do not have the consumer’s authorization to

communicate with third parties in connection with the collection of the consumer’s debt.



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       20.     In numerous instances, Defendant RAB continues to call consumers and demand

payment after receiving written demand from consumers to cease communications.

       21.     In numerous instances, Defendant RAB calls persons repeatedly or continuously

with the intent to annoy, harass, or abuse. For example, Defendant RAB: (i) continues to call

even after persons tell them either orally or in writing to stop; (ii) calls multiple times per day or

frequently over an extended period of time (for example, calling some persons up to 5 to 6 times

per day or more); (iii) calls at the person’s places of employment, even though the collectors know

or should know that it is inconvenient for them to receive calls there; and (iv) repeatedly calls third

parties who have no information concerning the consumer and, in some instances, threatens to

continue to call these third parties until consumers have paid the debt.

                               VIOLATIONS OF THE FTC ACT

       22.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive

acts or practices in or affecting commerce.”

       23.     Misrepresentations or deceptive omissions of material fact constitute deceptive acts

or practices prohibited by Section 5(a) of the FTC Act.

                                              COUNT I

                           Unsubstantiated Representations about Owing a Debt

       24.     In numerous instances, through the means described in Paragraph 13, during

telephone calls to consumers who previously had told Defendant that they did not owe

the debt that Defendant was attempting to collect, Defendant has represented, directly or

indirectly, expressly or by implication, that the consumers owe the debt.

       25.     In truth and in fact, in numerous instances, Defendant has not had a reasonable


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basis for the representations described in Paragraph 24 at the time the representations were made.

       26.     Therefore, the making of the representations set forth in Paragraph 24 constitutes

a deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                           COUNT II

             Unfair Practices-Unauthorized Withdrawals from Consumers’ Accounts

       27.     In numerous instances, through the means described in Paragraph 14, in connection

with the collection of debts, Defendant withdraws funds from consumers’ bank accounts without

obtaining consumers’ express informed consent.

       28.     Defendant’s actions cause or are likely to cause substantial injury to consumers that

consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.

       29.     Therefore, Defendant’s practices alleged in Paragraph 27 above constitute unfair

acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and 45(n).



         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

       30.     In 1977, Congress passed the FDCPA, 15 U.S.C. §§ 1692-1692p, which became

effective on March 20, 1978, and has been in force since that date. Section 814 of the FDCPA, 15

U.S.C. § 1692l, authorizes the Commission to use all of its functions and powers under the FTC

Act, to enforce compliance with the FDCPA by any debt collector, irrespective of whether that

debt collector is engaged in commerce or meets any other jurisdictional tests set by the FTC Act.

The authority of the Commission in this regard includes the power to enforce the provisions of the

FDCPA in the same manner as if the violations of the FDCPA were violations of a Federal Trade

Commission trade regulation rule.

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                                           COUNT III

                               False or Misleading Representations

       31.     Section 807(10) of the FDCPA, 15 U.S.C. § 1692e(10), prohibits debt collectors

from using any false representation or deceptive means to collect or attempt to collect any debt or

to obtain information concerning a consumer.

       32.     In numerous instances, in connection with the collection of debts, Defendant,

directly or indirectly, through the means described in Paragraph 13, has used false representations

or deceptive means to collect or attempt to collect debts or to obtain information about consumers.

       33.     Defendant’s representations as set forth in Paragraph 32 constitute false

representations or deceptive means in violation of Section 807(10) of the FDCPA, 15 U.S.C. §

1692e(10). Pursuant to Section 814(a) of the FDCPA, 15 U.S.C. § 1692l(a), the acts and practices

alleged in Paragraph 32 also constitute unfair or deceptive acts or practices in violation of Section

5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT IV

                        Unfair or Unconscionable Means to Collect a Debt

       34.     Section 808(1) of the FDCPA proscribes a debt collector from collecting any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by law.

       35.     In numerous instances, in connection with the collection of debts, Defendant,

directly or indirectly, through the means described in Paragraph 14, has collected amounts that

are not expressly authorized by the agreement creating the debt or permitted by law.




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       36.     The acts and practices alleged in Paragraph 35 constitute unfair or unconscionable

means to collect or attempt to collect debts, in violation of Section 808(1) of the FDCPA, U.S.C. §

1692f(1). Pursuant to Section 814(a) of the FDCPA, 15 U.S.C. § 1692l(a), the acts and practices

alleged in Paragraph 35 also constitute unfair or deceptive acts or practices in violation of Section

5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT V

                 Unlawful Location Communications-Multiple Communications

       37.     Section 804 of the FDCPA, 15 U.S.C. § 1692b, governs the manner in which debt

collectors may communicate with any person other than the consumer for purposes of acquiring

location information about the consumer. Section 804(3) specifically prohibits debt collectors

from communicating with any person about a consumer more than once unless the debt collector

reasonably believes that the earlier response of such person is erroneous or incomplete and that

such person now has correct or complete information.

       38.     In numerous instances, through the means described in Paragraph 15, in

connection with the collection of debts, Defendant, directly or indirectly, has communicated more

than once with persons other than the consumer for the purpose of obtaining location information

about the consumer without a reasonable belief that the person’s previous denial of knowledge of

the consumer or the consumer’s location was erroneous or incomplete and that such person now

has correct or complete location information.

       39.     The acts and practices alleged in Paragraph 38 constitute violations of Section




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804(3) of the FDCPA, 15 U.S.C. § 1692b(3). Pursuant to Section 814(a) of the FDCPA, 15

U.S.C. § 1692l(a), the acts and practices alleged in Paragraph 38 also constitute unfair or deceptive

acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT VI

 Unlawful Communications- Unusual or Inconvenient Time or Place or Prohibited by Employer

       40.     Section 805 of the FDCPA, 15 U.S.C. § 1692c, governs communications in

connection with a debt. Section 805(a)(1) specifically prohibits communications with a

consumer in connection with the collection of any debt at a time or place known or which should

be known to be inconvenient to the consumer, and Section 805(a)(3) specifically prohibits

communications with a consumer at the consumer’s place of employment if the debt collector

knows or has reason to know that the consumer’s employer prohibits the consumer from receiving

such communication.

       41.     In numerous instances, through the means described in Paragraph 16, in

connection with the collection of debts, Defendant, directly or indirectly, has communicated with

consumers at a time or place that Defendant knows or has reason to know is inconvenient to the

consumer.

       42.     In numerous instances, through the means described in Paragraph 16, in

connection with the collection of debts, Defendant, direct or indirectly, has communicated with

consumers at consumers’ places of employment even though Defendant knows or has reason to

know that consumers’ employers prohibit the consumers from receiving such communications.

       43.     The acts and practices alleged in Paragraphs 41- 42 constitute violations of

 Section 805(a) of the FDCPA, 15 U.S.C. § 1692c(a). Pursuant to Section 814(a) of the


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 FDCPA, 15 U.S.C.§ 1692l(a), the acts and practices alleged in Paragraphs 41- 42 also constitute

 unfair or deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. §

 45(a).

                                           COUNT VII

                              Unlawful Third-Party Communications

          44.   Section 805 of the FDCPA, 15 U.S.C.§ 1692c, governs communications in

connection with a debt. Section 805(b) specifically prohibits communications about a debt with

any person other than the consumer, a consumer reporting agency, the creditor, or their attorneys

except as allowed by Section 804 or with the permission of the consumer, or a court of competent

jurisdiction, or as reasonably necessary to effectuate post judgment relief.

          45.   In numerous instances, through the means described in Paragraphs 17- 19,

in connection with the collection of debts, Defendant, directly or indirectly, has communicated

about a debt with persons other than the consumer, a consumer reporting agency, the creditor, or

their attorneys without the permission of the consumer, or as otherwise allowed by Section 804.

          46.   The acts and practices alleged in Paragraph 45 constitute violations

of Section 805(b) of the FDCPA, 15 U.S.C. § 1692c(b). Pursuant to Section 814(a) of the

FDCPA, 15 U.S.C. § 1692l(a), the acts and practices alleged in Paragraph 45 also constitute unfair

or deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                          COUNT VIII

                           Unlawful Failure to Cease Communications

          47.   Section 805 of the FDCPA, 15 U.S.C. § 1692c, governs communications in




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connection with a debt. Section 805(c) specifically prohibits communication with a consumer

with respect to a debt if the consumer has notified the debt collector in writing that the consumer

refuses to pay a debt or that the consumer wishes the debt collector to cease further communication

with the consumer except to advise the consumer that the debt collector’s further efforts are being

terminated, to notify the consumer that the debt collector or creditor may invoke specified

remedies which are ordinarily invoked by such debt collector or creditor, or to notify the consumer

that the debt collector or creditor intends to invoke a specified remedy.

       48.     In numerous instances, through the means described in Paragraph 20, in

connection with the collection of debts, Defendant, directly or indirectly, has communicated with

consumers with respect to a debt after the consumers have notified Defendant in writing that the

consumers wish to cease further communication. Such communications are not made to advise

the consumer that Defendant’s further efforts were being terminated, to notify the consumers that

Defendant or creditors may invoke specified remedies which are ordinarily invoked, or to notify

the consumers that Defendant or creditors intended to invoke a specific remedy.

       49.     The acts and practices alleged in Paragraph 48 constitute violations of Section

805(c) of the FDCPA, 15 U.S.C. § 1692c(c). Pursuant to Section 814(a) of the FDCPA, 15

U.S.C. § 1692l(a), the acts and practices alleged in Paragraph 48 also constitute unfair or deceptive

acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT IX

                        Annoying, Abusive, or Harassing Telephone Calls

       50.     Section 806 of the FDCPA, 15 U.S.C. § 1692d, prohibits debt collectors from




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engaging in any conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt. Section 806(5) specifically prohibits debt

collectors from causing a telephone to ring or engaging any person in telephone conversation

repeatedly or continuously with intent to annoy, abuse, or harass any person at the called number.

        51.    In numerous instances, through the means described in Paragraph 21, in

connection with the collection of debts, Defendant, directly or indirectly, has engaged in conduct

the natural consequence of which is to harass, oppress, or abuse persons.

        52.    In numerous instances, through the means described in Paragraph 21, in

connection with the collection of debts, Defendant, directly or indirectly, has caused telephones to

ring or engaged persons in telephone conversations repeatedly or continuously with intent to

annoy, abuse, or harass the persons at the called numbers, and the natural consequence of such

calls has been to harass, oppress or abuse persons.

        53.    The acts and practices alleged in Paragraphs 51- 52 constitute violations of

Sections 806 and 806(5) of the FDCPA, 15 U.S.C. § 1692d and 15 U.S.C. § 1692d(5). Pursuant

to Section 814(a) of the FDCPA, 15 U.S.C. § 1692l(a), the acts and practices alleged in Paragraphs

51- 52 also constitute unfair or deceptive acts or practices in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a).

                                     CONSUMER INJURY

        54.    Consumers have suffered and will continue to suffer substantial injury as a result of

Defendant’s violations of the FTC Act and the FDCPA. In addition, Defendant has been unjustly

enriched as a result of its unlawful acts or practices. Absent injunctive relief by this Court,

Defendant is likely to continue to injure consumers, reap unjust enrichment, and harm the public

interest.


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                       THIS COURT’S POWER TO GRANT RELIEF

       55.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

injunctive and such other relief as the Court may deem appropriate to halt and redress violations

of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

remedy any violation of any provision of law enforced by the FTC.

                 CIVIL PENALTIES FOR VIOLATIONS OF THE FDCPA

       56.     Defendant violated the FDCPA as described above, with actual knowledge or

knowledge fairly implied on the basis of objective circumstances, as set forth in Section

5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A).

       57.     Each instance within three years of the filing of this Complaint, in which

Defendant failed to comply with the FDCPA in one or more of the ways described above,

constitutes a separate violation for which Plaintiff seeks monetary civil penalties.

       58.     Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), Section 814(a) of

the FDCPA, 15 U.S.C. § 1692l(a), and Section 4 of the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461, as amended, authorizes the Court to award monetary

civil penalties of not more than $16,000 for each violation of the FDCPA occurring within three

years of the filing of this Complaint.

                                     PRAYER FOR RELIEF

       Wherefore, Plaintiff, pursuant to Sections 5(m) and 13(b) of the FTC Act, 15 U.S.C. §§

45(m)(1)(A), 53(b), and Section 814(a) of the FDCPA, 15 U.S.C. § 1692l(a), and the Court’s own

equitable powers, requests that the Court:

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      A.    Award Plaintiff such preliminary injunctive and ancillary relief as may be

            necessary to avert the likelihood of consumer injury during the pendency of this

            action and to preserve the possibility of effective final relief, including but not

            limited to, temporary and preliminary injunctions;

      B.    Enter a permanent injunction to prevent future violations of the FTC Act

            and the FDCPA by Defendant;

      C.    Award such relief as the Court finds necessary to redress injury to consumers

            resulting from Defendant’s violations of the FTC Act and the FDCPA, including

            but not limited to, rescission or reformation of contracts, restitution, the refund of

            monies paid, and the disgorgement of ill-gotten monies;

      D.    Award Plaintiff monetary civil penalties for each violation of the FDCPA occurring

            within three (3) years preceding the filing of this Complaint; and

      E.    Award Plaintiff the costs of bringing this action, as well as such other and

            additional relief as the Court may determine to be just and proper.




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 DATED: July 8, 2014


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